Case 5:21-cv-00844-XR onocument 747-10 Filed 09/01/23 Page 1 of 16

ice of the Attorney General of Texas
Election Fraud Complaints Referred for Investigation
SOS Referrals

| Fals [2002 Municipal Election
| Robertson [2002 General Election
Crna rregularties

Possession of an official ballot by another

Unlawful candidacy, legal Voting, mail-in Ballot viglations

Unlawfully obstructing watcher, unlawfully witnessing application for more
than one application, unlawful assistance, security of ballots, ballot boxes
Bowie 2004 Primary Election 10/26/2004 = |and envelopes

Hidalgo |2004 Municipal Election 1i/i5/2004 [False statement on application, purportedly acting as agent

| pee [2004 General Election 11/18/2004 = |Application for a ballot by mail was submitted in the name of a dead person

1/29/2004 [Miegal aseistance and Tegal vouna
| Reeves [2004 Primary Election 2/2/2005 Method of returning marked ballot
GOS SEHOO! DIStE EBETION | G/8/2005 | | MEtNGd Of FERUIRING MiaiRed Gallo, UNISWIUl assistance, Sseisting Voter

Method of returning marked ballot, unlawful assistance, assisting voter,
Hidalgo |2005 Municipal Election 6/16/2005 illegal voting

Waller 2005 Munidipal Election | S/29/2005 Offering to buy GF Sell official Ballot, envelope or application

Method of returning marked ballot, unlawful assistance, assisting voter,
Harris 2005 Municipal Election 8/31/2005 illegal voting

Tarrant
Wharton [2005 School District Election | 12/8/2005 [legal voting
Dallas UnISwhiihy accepting Voter, falling to Secure Ballot box
puval
Duva

Travis 12004 General Election 3/27/2006. jLlegal voting, praviding false information on a Voter registration application

Hidalgo [2006 Primary Election 3/29/2006 Voter not permitted to mark his own mail-in ballot

Sarr 200s Primary EERtOn (so/200s [egal vorng

| Culberson [2006 Primary Election 4/5/2006 Illegal voting, providing false information on voter registration

Failure to secure ballot bax, obstructing poll watchers, unlawfully revealing
Brazoria i 2005 Municipal Election 4/7/2006 information before polls closed

| Frio [2006 Primary Election ‘| _4/7/2006 [Unlawful assistance, Tegal voting
fc LaSalle [2006 Primary Election Rue awh nee eM

Obstructing poll watcher, unlawful assistance, witnessing more than one
Bowie 2006 Primary Election 4/27/2006 mail-in ballot application

Coercion of a voter, unlawful influence, electioneering
Coercion of a voter

[Coercion ofa voter
Provided a campaign fiver, electioneering 100 ft) distance, persuading the
Franklin. (2006 Schaal District Election 6/5/2006 voters te vote for the bond proposition
| Smith (2006 MOnicipal Election Unlawfil Bresence by 3 candidate
S/11/2008  |Viegal Wong, Wegal registration
| Bandera | (2006 Special Election Unlawfil Bresence by 3 candidate

| farrant [2006 Municipal Election 9/25/2006 Forged signatures on a recall petition

Zavala (20S Gateral Election ey T/2008 | UNIAWTOT Seaistance

| Refugio [2006 Primary Election 12/1/2006 Unlawful assistance

200e Shecial Elechan Toy T200e Sang I a PalNG Blace, SlectOneerng

| Waller — [2006 General Election 12/20/2006

Bee 1/3/2007 [ERCHOREETING

| Nueces [2006 School District Election 5/7/2007 Electioneering by opposing candidate

BROW 2004 Primary EEEEOn Sc2007 | | Pasieanen of 6 Candidates app cation

| Jefferson [2007 Constitutional Election 7/10/2007 Loitering in a polling place, electioneering

2007 School District and Municipal
Hill Election F/AG/2007 Divulged election results prior te the closing of palls on election day

Candidate entered election day polling place & remained during the
Montgomery |2007 School District Election 7/18/2007 accumulation of votes

773072007
8/27/2007 Elactioneering 100 feet from entrance violation

Information as of 5/10/2022 Page 1

STATE107717
Case 5:21-cv-00844-XR onocument 747-10 Filed 09/01/23 Page 2 of 16

ice of Ang ttorney General of Texas
Election Fraud Complaints Referred for Investigation
SOS Referrals

Illegal voting, unauthorized entry into the ballot box, unlawful influence of
Bosque os School District Election 11/30/2007 voters, and unlawful assistance of voters

T/A72008
Henderson [2006- 2007 Municipal Election 3/11/2008 Tilega! voting

Electioneering and handing out of religious material within 100 feet of the
Wichita 12007 Constitutional Election 3/11/2008 polling place

Gillespie 2008 Primary Election 3/12/2008 Unlawfully revealing information before polis close

Duva O08 Primary Election | BiTG(2008 Election irregularities

lecren rege te
Guadalupe |2008 ary Election oe Loitering in a polling place, eectioneering

ER ay ETO TET PTS aa VT aR TG TT
Kleberg [2008 ary Election oe Unlawfully loitering in a polling place

School District Election greg TCE TT égal voting, bribery, and oF icial miscondud

Eo
saaiae Municipal Election 9/15/2008 Unlawful assistance, unlawful possession of mail-in ballot and illegal voting

| T/3/2009 |Flectioneering within 100 fLimark ats poling place within 100 ft mark at 3 |Flectioneering within 100 fLimark ats poling place lag place

Election workers suggesting how voters should vote by axoressing their
Midland 12008 Primary Election 1/28/2009 preference for particular candidates

(Coercion ofaveter
Bribery, felons voting, unlawful delivery of voter registration certificate
Unlawfully influencing a voter, electionesring, candidate In polling place

S010 Primary Election 4/20/2010 Unlawfully obstructing watcher, illegal voting, unlawful assistance, failure to
witness application, unlawfully witnessing more than one application,
providing false information on application, possession of mail-in ballots,
unlawful assistance, bribery

| Verrant | [2010 Primary Election Af27/2010 Unlawful assistance

2010 Primary Election 4/29/2010 Unlawfully accepting a voter, unlawfully permitting the deposit of a ballot,
Bexar and illegal voting

| Gonzales [2009 Municissl Election B/21/2010 | Providing false information On application, boséession of mail-in ballots

Jim Wells |2010 Primary Election 5/21/2010 Illegal voting, signing application by witness-assisting applicant, providing
false information on application
Unlawhul Seen ee ee ee nnn unlawfully influencing a voter
coercion of 1 een
llegaiveing voting

voter, and unlawfully ce poll watcher
Harris 2010 General Election 9/8/2010 False statement on voter registration application, obtaining voter
registration applications prior to being deputized, failing to timely deliver
voter registration applications, tampering with a governmental record
Bribery, coefcion of candidacy

Hidalgo |2010 Municipal Election 11/9/2010 Bribery, unlawful assistance, illegal voting, unlawfully accepting or rejecting
Unlawfully influencing a voter, unlawful assistance, illegal voting, and
Unlawfully infldencing a Voter, unlawful assistance, illegal voting, and

Montgomery |2010 Special Election 12/20/2010 False statement on application, illegal voting

Electioneering, unlawfully influencing voter, unlawfully accepting or refusing
Multiple a oe a Soe voter, unlawhul assistance, coercion of a public servant or voter
Caldwe Electi 1

Information as of 5/10/2022 Page 2

STATE107718
Case 5:21-cv-00844-XR onocument 747-10 Filed 09/01/23 Page 3 of 16

ice of the Attorney General of Texas
Election Fraud Complaints Referred for Investigation
SOS Referrals

Signing application by assistant, sraviding talse information on agplicatian,
Bowie © |2010 General Election 3/30/2011 unlawful assistance, tampering with a governmental record,

Parker [2010 Municipal Election a713/2011

Wrongful delivery of a ballot box key, false Information on application for

mail in ballot, tampering with a governmental record) mall in ballot Issued

to voters, voter registration application from unauthorized agent, illegal
4/13/2011

Brown) = 12010 General Election destruction of election records

Refugio

Dallag

Wichita [2010 Special Election | AT/1 7/2011 [Tegal voting, coercion of a voter

Wichiéa|2O0T0 Primary Election

San Patricio [2011 Municipal Election
Comal’ [2010 Municipal Election
Cooke 2/3/2012

Bowie

Illegal voting, unlawful participation in party affairs, tampering with a
Angelina |2010 Primary Election 3/22/2012 governmental record

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rAnAarSeA [2012 Municipal & Primary Elections
FC reekee [20z Municipal & Primary Elections
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| Harris [2012 Municipal & Primary Elections 7/12/2012 Tegal voting (voter impersonation-deceased voter
| DAISS 2012 Monies! & Pimary Eechons Tii2(2012  SGal Watind (Voter (Bei sonation Weceaked Vater
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Dallas [2012 Municipal & Primary Elections | 7/12/2012 [Megal voting (Voter impersonation-deceased voter)
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| Dallas [2012 Municipal & Primary Elections | 7/12/2012 [Megal voting (Voter impersonation-deceased voter)
| Dallas [2012 Municipal & Primary Elections | 7/12/2012 [Megal voting (Voter impersonation-deceased voter)

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| Dallas [2012 Municipal & Primary Elections 7/12/2012 Illegal voting (voter impersonation-deceased voter
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| Bell [2012 Municipal & Primary Elections | 7712/2012 [Ilegal voting (voter impersonation-deceased voter)
F URISSaG 20a Municipal & Primary Elections | 7/Ea/2012 | Megal voting | voter impersonation deceased vote)
Bexar 2012 Municipal & Primary Elections 7/12/2012 Tiegal voting (voter Impersonation-deceased voter
Information as of 5/10/2022 Page 3

STATE107719
Case 5:21-cv-00844-XR onocument 747-10 Filed 09/01/23 Page 4 of 16

ice of the Attorney General of Texas
Election Fraud Complaints Referred for Investigation
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Hidalgo [2012 Municipal & Primary Elecuons’ | [7/12/2012 1 legal voting | veter iiperSonationcdecessed voter)
| Brazoria [2012 Municipal & Primary Elections [| 7/12/2012 _ [Illegal voting (voter impersonation-deceased voter
Dallas [2012 Municipal & Primary Elections | 7712/2012 — [TTlegal voting (Voter impersonation-deceased voter)
| Brazoria [2012 Municipal & Primary Elections [| 7/12/2012 _ [Illegal voting (voter impersonation-deceased voter
[Hidalgo |ZOLZ Muanteipal w Primary Ereckians’/7] 111 7/12/2012 | Mlegal voting | voter ripe sonation:Ceceased voter
Dallas [2012 Municipal & Primary Elections | 7712/2012 — [TTlegal voting (Voter impersonation-deceased voter)
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| Dallas [2012 Municipal & Primary Elections | 7712/2012 — [TTlegal voting (Voter impersonation-deceased voter)
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| LaSalle [2012 Municipal & Primary Elections =| 7/12/2012 __ [Illegal voting (voter impersonation-deceased voter
2012 Municipal B Peary ElECHORS| [| 7/12/2012 | Megal vaeng (voter impersonation weceased vores)

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| Duval [2012 Municipal & Primary Elections 7/12/2012 egal voting (voter impersonation-deceased voter

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| Brazos [2012 Municipal & Primary Elections 7/12/2012 egal voting (voter impersonation-deceased voter

Tegal VOUnG (VOLEr Impersonation deceased voter

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| _ Ellis [2012 Municipal & Primary Elections 7/12/2012 llega! voting (voter impersonation-deceased voter
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| Burnet [2012 Municipal & Primary Elections =| 7/12/2012 __ [Illegal voting (voter impersonation-deceased voter
| Lubbock [2012 Municipal & Primary Elections [| 7/12/2012 __ [Illegal voting (voter impersonation-deceased voter
2012 Municipal B Peary ElECHORS| [| 7/12/2012 | Megal vaeng (voter impersonation weceased vores)
2012 Municipal B Peary ElECHORS| [| 7/12/2012 | Megal vaeng (voter impersonation weceased vores)

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| Medina [2012 Municipal & Primary Elections [7/12/2012 [Illegal voting (voter impersonation-deceased voter
| Childress [2012 Municipal & Primary Elections [7/12/2012 [Illegal voting (voter impersonation-deceased voter
/Montgamery|2012 Municipal & Primary Elections” | "7/42/2012 [Tegal voting (voter Impersonatlon-deceased voter
| Collin [2012 Municipal & Primary Elections [7/12/2012 [Illegal voting (voter impersonation-deceased voter
ZOLZ Munielpal & Primary Elections | 7/42/2012" [legal voting (voter imeetsonation-decessed votet)
2017 Manieipal & Primary Elections] 7/12/2012 egal voting (voter Inpersonation-deceased voter

Information as of 5/10/2022 Page 4

STATE107720
Case 5:21-cv-00844-XR ode

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ocument 747-10 Filed 09/01/23 Page 5 of 16

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SOS Referrals

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2012 Municipal & Primary Elections
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| Harris [2012 Municipal & Primary Elections
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f/12/2012 legal voting (voter Impersonation-deceased voter)

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7/12/2012 legal voting (voter impersonation-deceased voter)

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| 7/12/2012 {Tegal voting (voter impersonation-deceased voter)
|  PTe/2012 legal voting (voter impersonation deceased voter
| 7/12/2012 Illegal voting (voter impersonation-deceased voter)
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7/12/2012 Illegal voting (voter Impersonation-deceased voter)
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Information as of 5/10/2022 Page 5

STATE107721
Case 5:21-cv-00844-XR onocument 747-10 Filed 09/01/23 Page 6 of 16

ice of the Attorney General of Texas
Election Fraud Complaints Referred for Investigation
SOS Referrals

El Paso [2012 Municipal & Primary Elections f/12/2012 Niegal voting (voter Impersonation-deceased voter)
Schieicner 12012 Municipal & Primary Elections PIUZ/2012 Ulegal voting (voter impersonation-deceased voter
O12 Municipal & Primary Elections 7/12/2012 Illegal voting (voter Impersonation-deceased voter)

Shelby
EI Paso
Shelby Ole Municipal & Primary Elections = | 7/42/2012 legal voting (voter impersonation deceased voter

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Galveston [2012 Municipal & Primary Elections 7/12/2012 legal voting (voter impersonation-deceased voter)

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Galveston i2012 Municipal & Primary Elections PIUZ/2012 Ulegal voting (voter impersonation-deceased voter
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Gillespie | 2012 Municipal: & Primary Elections AP Aef 2012 egal voting (voter impersonation-deceased voter

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Smith
Bribery, coeraien of voter

ilegal voting (mark another's ballot without consent), unlawful assistance,
2012 General Election 6/17/2013 Unlawfully accepting a voter

rrvatious 772012 General Election TTT [i S/ZO/Z01S | Mlegal Voting (double votes) Kansas and Ts

[Dallas [2013 Municipal Election | 10/28/2013 [Uniawfulinfluence
nlawTully accepting voter, Megal VoRRG

ABBE OF SPelal Capacity= Deputy Voter RESET

Fr Besar Unaeterrnined” TT TTT | aT aU/ OLA ABUSE GF ictal capacity= Deputy Voter Register

[Dallas [2012 General Election =| 4728/2014 [Tllegal Voting (voter impersonation)

Tlecal Voting (mark another ballot without consent), Revealing information
Bexar 2011 Municipal Run-Off Election 4/29/2014 before polls close, bystanders in polling place

| Starr = [2014 Special Election 5/2/2014 Mail in ballot violations
Tarrant 2014 Primary Election 5/5/2014 Bribery
Information as of 5/10/2022 Page 6

STATE107722
Case 5:21-cv-00844-XR onocument 747-10 Filed 09/01/23 Page 7 of 16

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Election Fraud Complaints Referred for Investigation
SOS Referrals

Wharton Wi 772014
fr Eawatds [2004 Prinvary Election 77 fa 2a/zO1a | Caneidate Meg bility (ConVetad Felon

Deat Smith 12014 General Election | POse/20T4 i clactioneering (County Clerk inserting Material in mall in Ballots

|_Harris [2014 General Election 11/20/2014 ~|Tampering with Governmental Record, Forgery (Petition

Ulegal voting (mark another's ballot without consent), unlawful assistance,
Dallas (2014 Primary Election 11/12/2014 \Unlewfully accepting a voter
[2007-2014 Municipal = SCT =—«i49718/2014 [Illegal Voting (Residency) CCCCSC“‘;‘SCSCsCtstséz”

| Brazos [2007-2014 Municipa 11/18/2014 egal Voting (Residency

LaSalle
Zapata Buying votes in the Slaton
Fidaigo Mail in Ballot violations

Failure to comply with Séction 1.01] as a withéss, Improperly serving a

witness for multiple voters, Forgery, Tampering with a Governmental

Record, Unlawful possession of a carrier envelope, Improper or Uniewful
1/22/2016

Tarrant (Multiple Elections Assistance
Hi 2016 Primary Election | 7/21/2016 __|Tllegal Voting (more than once
Wise 2016 Primary Election MISBOONCatON OF Barty funds
Coercion of candidacy
Harris Mail Th Ballot Vislatons

Bee Mail in Ballot violations
MECOnach UnIaWwhal Shiny iAbS a Ballot bax

Illegal voting, false information on a voter registration application, improper
Hidalgo /2016 Municipal & Run Off Elections 12/9/2016 assistance

Webb i/25/2017 _(Negal Voting (felon
2016 General Election 1/30/2017 Unlawfully accepting a voter

legal Voting (voter impersonation, marking ballot), unlawful assistance,
Nueces 12016 School District Election 2/2/2017 Unlawful possession of a mail in ballot

Eastland Bribery
Harris [2016 Primary Election | 2/6/2017 _|Tlegal Voting (voter impersonation

[Uvalee 2016 Primary Run =O

[Hidalaa( | /2006 Municipal Election

Illegal voting, false information on a voter registration application, bribery,
Starr 2016 Primary Elections 2/6/2017 and coercion of a voter

MURIBIE Elections SPP 2OL? Performance: Based Compensation for Registering Voters Prohibited

2015 Municipal & 2016 Primary Forgery, tampering with a governmental records, unlawful assistance,
Tarrant |Elections 2/7/2017 providing false information on application, assisting voter

Dovel Ole Piiviary RUN Of Election AISWTOl SSSIStanice

Unlawful assistance, unlawfully witnessing/assisting applications for ballot
2016 Primary & Primary Run - Off by mail, unlawfully accepting or refusing to accept voter, bribery, coercion
Uvalde Election 2/7/2017 of a voter, loitering

ryDallas Ty |20ie General ection | a/aa/2017 [Unlawtul influencing a voter and elecioneemng
3/23/2018

| eee eee Webb County Democratic Primaty|  a/LO/2018 | [Voter Harvesting

Ry oF Galena Park Election [i S/2OLe [Assisted and tld VOTE RoW ane MRO VOTO

i/t8/2018

rTRidalgoy 7 |Nevariber 7, 2017 Election
j 1/18/2018

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Hidalgo |November 7, 2017 Election Misrepresentation of self

Information as of 5/10/2022 Page 7

STATE107723
Case 5:21-cv-00844-XR onocument 747-10 Filed 09/01/23 Page 8 of 16

ice of Ang ttorney General of Texas
Election Fraud Complaints Referred for Investigation
SOS Referrals

2018 Gregg County Democratic
Gregg Primary 6/18/2018 Voter Harvesting

poppe tsar March & [2018 March & May Colleyville | Co [2018 March & May Colleyville | le | 6/7/2018 | [Misrepresentation ofidentity —Citi‘tsCsis of identity

Renee 2018 Prvary Ro OF | aor egal Voting - ineligible voters - residency
—Retsge — 110717 Eaburg Moniepat | —ke/s0Te — MegalVotng
Taylor BOT Tayo County = | ~@713/2018 — etn Frag Fraud
—Retsge — 110717 Eaburg Moniepat | —ke/s0Te — MegalVotng
—Hetsge 1170717 Eanburg Moniapat ——| —1keys0Te — MegalVotng
—Retsge — 110717 Eaburg Moniepat | —ke/s0Te — MegalVotng
—Hetsge 1170717 Eanburg Moniapat ——| —1keys0Te — MegalVotng
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Potter/Rand Son City of Amarillo General and
all sores 6/24/2019 Illegal Voting

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FEABtandl [2016 Ranger College Band EIRCUGR
OLB Hanis County General

TARE [2019 Cy OF POPES HT MURR
020 Haris County PHIANY

2019 City of Robstown Municipal
Nueces [Runoff 1/2/2020 Illegal Voting/Bribery

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Peery Ceo eee Mea Verge Voting
Mail Ballot Frau
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Primary nlawhully Obstructing Pall Watcher
Monte Alto [2016 Monte Alto [SD 2/25/2020 Itegal Voting

Information as of 5/10/2022 Page 8

STATE107724
Case 5:21-cv-00844-XR onocument 747-10 Filed 09/01/23 Page 9 of 16

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Election Fraud Complaints Referred for Investigation
SOS Referrals

[Dallas [2020 Dallas County General [11/3/2020 [Mall Baffot Frau

O20 For Bend PUNE) Genera | PEPS72020 | SWAY Obstructing Poll Watcher

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Cypress
2026 Dallas County General - Felon

Dallas. Voter 12/4/2020 \Ilegal Voting
2020 Dallas County General - Poll

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2020 Tarrant County Genera er T1 i llega TeetGh

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2020 Harlingen TSD General Election | 7/13/2021

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a0 Harris County Primary Election 7/19/2021 Mail Ballot Fraud
DEAROH 2024 City oF Grapevine Manlepal Cleon CAV 2OAT Mega Vee

| aes | Getoneuee County General Election B/lee02t illegal Voung
Willacy | 12020 Willacy County General Election 8/16/2021 Unlawful Assistance
May 2022 City of Port Aransas
Nueces |Municipal Election 3/9/2022 Illegal Voting
ee Refugio County Primary Election B/L1/2022 Election Fraud

2022 Brewster County Primary
Brewster |Election 3/25/2022 Election Fraud

| Starr 2022 Starr County — RGCCISD 2h 2/2022 Tegal Votng

This document is not a summary of all election complaints in this state. This document does not record or report offenses reported
to local law enforcement, district or county attorneys, or federal authorities. This document only reflects complaints referred to
the OAG for investigation by the Secretary of State, pursuant to Election Code Sect. 31.006, and is limited to those complaints
where the SOS determines that there is reasonable cause to suspect that criminal conduct occurred.

Information as of 5/10/2022 Page 9

STATE107725
Case 5:21-cv-00844-XR Document 747-10 Filed 09/01/23 Page 10 of 16

e@ Attorney General of Texas
Election Fraud Complaints Referred for Investigation
Referrals - Other Sources

Caldwell —|2005 School District Eection

Unauthorized person in-sentral tallying area Uuniawially revealing
MeMullen 2006 Primary Election MOter infarmation: betare polls clase H/o

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Forgery tampering withce Government dpcument (election
Hays 2006 Speciat Election OUner record) n/a

Hidalgo 2006 Municipal Election | _—*Voter ~—_—‘f Official request for election records

egal Signs, Penury BY TaIsMVing TEStdency If On Candidacy
Dawson 2006 Primary Election ‘Other application nfa

Campaign finance violations, distribution of campaign materials
Hays 2006 Municipal Election Other by someone other than candidate n/a

Elections officials unlawfully divulging voter information before
Goliad 2006 Primary Election Voter close of polling n/a

Guadalupe (2006 Municipal Election legal corporate campaign danahons
Hidalgo [2006 School District ETection
eestor ster

Utilizing county offices, equipment, and personnel for political
Hidalgo 2006 Primary Election Other purposes

Montgomery: 12006 Primary RlSchon ‘Other Un TeWhGhy Secepting or imakind campaign Conshon

Failure to publish notice of election, illegal meetings, insufficient
and improper voting equiprnent, improper appointment of
Reeves 2006 Municipal Election Voter elections clerk
Galveston One
Travis Voter
GaeEE | [200S Schioal District EIaetION oer
Duval 2006 School District Election Voter
Jefferson (Primary ane General Election ORE
Aransas Other
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Tom Green Other
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Starr Other
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Violated Texas campaign finance laws by utilizing campaign
contributions for the purpose of retaining an attorney for other
Harris 2008 Primary Election Voter than authorized purposes

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Duvat Z2008:Primané Election Mater niawhub-assistance
Jim Wells {2008 Primary Election Other Unlawful possession of mail-in ballot

OG)
Dave Otter | [UNIawhil possession of mallin ballots
Starr 2008 Primary Election Other IHegal voting
2008 Primary Elachon MOtEE Uiegal canwpaign finance
2008 Primary Election Other Campaign finance for district attorney

‘Other Ballot boxec appearing after ballot counting had been completed :th/5

Voter Election irregularities
ater Election iprequlanties
Other Coercion against candidacy

Voter aCHOD HreGuISnhes:

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omer
Other
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ow to gain access to the SOS system which electronic voting
Travis 2008 Primary Election Other results from county elections administrators n/a

Information as of 5/10/2022 Page 10

STATE107726
Case 5:21-cv-00844-XR Document 747-10 Filed 09/01/23 Page 11 of 16

e@ Attorney General of Texas
Election Fraud Complaints Referred for Investigation
Referrals - Other Sources

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[TOR Green| OR Primary EUSTON OT CaS TG TAS WICTRRIOTE nla
othe

2006 Primary Election Found unopened meil-in bellot during a narcotics search warrant (n/a

2008 Primary Election Ballot fraud n/a
San: Patricio: O08 Primary Election Other: Unlawhulassistarice and unlawful possession of imail-in Ballots

Superintendent and assistant superintendent acting as early
Voter voting and voting judge n/a

Candidate transported student via school bus to court house to
Panola Voter: vote rifa

San Patricio [2008 Primary Election Voter {Unlawful assistance and unlawful possession of mail-in ballots [n/a
AaShaGESA [2008 Primary Election fl ee
Tefferson —|2008 Special FTection Voter _Ffection misconduct n/a
Sabine | 2008 Manlepal Elston
Webb — [2068 Primary Flection
Tespar 2008 Muniapal Feces re eon eae

Convicted felons registered in county and have cast ballots in
Starr 2007 Municipal Election Other elections nja

008 Municipal Election

Uniswhlly released’ police reports snd narratives on one OF the
Wichita 2008 General Election OUner catididates running for shertt n/a

{ Bexar —_ [2008 General Election | _—‘Voter ~—_—_—‘[ Providing false information on a voter registration application
008 General Election neligible to hold the office of County cler

Unlawful assistance, unlawfully influencing a voter, and illegal
Jasper 2008 General Election Voter voting n/a

2008 General Election Voter Unlswtilly prevented from Voting Oe

Solicitation of campaign funds while on duty, selling of campaign
fundraiser tickets while on duty and misuse of county employees
while on county time n/a

08 General Election arhar
Other
[Penk 008 General Eection ee
Vater

False statemention-niatsin ballot application: (dereased: vaters):
Haris 2009 Municipal Election OUner forgery

Iegal voting, voter impersonations, and convicted felons, mail-
Jim Wells {2008 Municipal Election Voter in ballot violations n/a

200g School Distict Election Residenny of cannmate
Smith 2009 Municipal Efection - “other ——Ilfegat voting

Medina 2009 Municipal Rection ‘Other prevents: them from holding office: absentee ballats; voter fraad tifa

Falls

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[Austin [2010 Primary Election
2010 Primary Election Failure to secure ballot box, unlawfully rejecting voters
Brooks 2010 Primary Election Voter Unlawful assistance, illegal voting, and electioneering n/a
Information as of 5/10/2022 Page 11

STATE107727
Case 5:21-cv-00844-XR Document 747-10 Filed 09/01/23 Page 12 of 16

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Election Fraud Complaints Referred for Investigation
Referrals - Other Sources

IO Municipal EISGHION
[Heirs [S010 General Election ater nT fuly rejecting & voter

IHegal voting (voter impersonation), unlawfully revealing
Bryan 2010 General Election Other information before polls close, electioneering /

Unlawfully influencing a voter camer envelape action by person
otier then voter assicting voter, signing application bycwithees:
assisting applicant: Uniawially withessing application for mare

a

Bowie 2010 General Election Voter than one applicant
Brooks Other
Edwards [Multiple Elections Other ileal young, false statement on candidacy elections
Nueces Undetermined Voter Campaign finance violations
Maverick _|2010 General Election Other Bribery
Duval Undetermined Voter Unspecified election violations
False StatBTient On CanMIMaCy SpElcation,
legal voting (Voter impersonation)
Received a voter registration card for a voter not living at
Bribery, abuse of official capacity
THegal voting (1-ineligible voter), unlawfully accepting a voter
Mail in Voter Fraud) and illegal voting (i ineligible Voter © felons)
| Wilson | 20i2 Brmery Becton voter [Voter resietration holding cards before submitting
Possession of ballot box keys
Unspecified election violations
illegal vating- voter impersonation
Tampering with a governmental record, forgery, and providing
[Bey GTS Municipal Election Omer [mbroner campaign event
| Cameron [2013 Municipal Election | Other Campaign finance violations
Fail in ballot violations
Folee information on apalication for place on ballgt
illegal voting (double vote)
Hidalgo “(2010 Prmary Election Vor Tlegat Canvassing wae
Information as of 5/10/2022 Page 12

STATE107728
Case 5:21-cv-00844-XR Document 747-10 Filed 09/01/23 Page 13 of 16

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Election Fraud Complaints Referred for Investigation
Referrals - Other Sources

Tarrant Undetermined Voter General allegations of election fraud-unspecified n/a
UinlsWfal presence By © ConuOaS) UnlaNTUN AISNE
Tempering with Ss oovernmental recard providing false
| victoia [2016 prmerytecion | __ voter [information on eonsasey appetion
ofS Primary © Specal Election
U16 General Election Mlegal vating, mail in ballot viclatians

Cameron {2016 General Election Voter IHegal Voting (Residency)
Hidalgo 2017 School District Election Other Unlawful assistance
Harris 2016 General Election Other IHegal voting (Voter impersonation), non-citizen

legal voting (non citizen)
False statement on a voter registration application - citizenship.
Procurement of a voter registration by fraud - non citizen
registering to vote in violation of the Voting Rights Act 52 U.S.
Mason 2014 General Election Other 10307 (c) & 20511 (2) (a)

egal voting (non citizen), Felse statement on a voter

registratipn application “citizenship. Procurement ofa voter

registration by Trauc: = nan sitizen registering tosvote iA violation
Harris 2014 Generel Hlection, 3 other Elections ‘Other of the Voting Rights Act 52.U0S) 10807 (co) & @O514 (2) (a) n/a

IHegal voting (non citizen). False statement on a voter

registration application - citizenship. Procurement of a voter

registration by fraud - non citizen registering to vote in violation
Harris 2014 General Election Other of the Voting Rights Act 52 U.S. 10307 (c) & 20511 (2) (a) n/a

Illegal vating (non citizen). False statement on a voter

registration application — clizenship. Procurement of a voter

registration by fraud - non citizen registering to vote in vialation
Harris 2014 General Election, 4 other Elections Other of the Voting Rights Act 52 U.S. 10307 (c) & 20511 (2) (a) n/a

Hiedal voting (aon citizen) False statement an so voter
registration application = citizenship. Procurement of a voter

IHegal voting (non citizen). False statement on a voter
registration application - citizenship. Procurement of a voter
registration by fraud - non citizen registering to vote in violation
Tarrant 2000 & 2002 General Elections Other of the Voting Rights Act 52 U.S. 10307 (c) & 20511 (2) (a)
registration by fraud = non citizen registering to vote in Violation
Janant | [2005 Constitutional General Elections Other of the Voting Rights Act S2.U.S. 10307 (co) @ 20511 (2) (a)
False statement on a voter registration application - citizenship.
Procurement of a voter registration by fraud - non citizen
registering to vote in violation of the Voting Rights Act 52 U.S.
Tarrant 2016 Primary & General Elections Other 10307 {(c) & 20511 (2) (a)
Felce statement one Voter registration application =citienship:
Procurement of a voter registration by fraud = hon citizen
registering to vote in violation of the Voting Rights Act 52 U.S:
‘Tarrant | [2016 Primary & General Elections Other 1030/7 (c) & 20514 (2) (3)
False statement on a voter registration application - citizenship.
Procurement of a voter registration by fraud - non citizen
registering to vote in violation of the Voting Rights Act 52 U.S.
Bexar 2016 Primary & General Elections Other 10307 (c) & 20511 (2) (a)

False statemention-e voter recistratian application = citizenship:
Procurement of a voter reqistration by fraud = nan citizen
registering to vote in violation af the Voting Rights Act 52 U.S.

Bexar 2016 Primary & General Elections Other 10207 (ce) & 20544 (2) (a) n/a

Information as of 5/10/2022 Page 13

STATE107729
Case 5:21-cv-00844-XR Docum

ent 747-10 Filed 09/01/23 Page 14 of 16

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Election Fraud Complaints Referred for Investigation
Referrals - Other Sources

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2016 Primary & General Elections

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2016 Primary & General Elections

2006 General Election, 3 ather Elections

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2016 Primary & General Elections

2016 Pritnary & General Elections

2016 Primary & General Elections

2016 Primary B General Blactions

2016 Primary & General Elections

2016 Pritnary & General Elections

2016 Primary & General Elections

Other

Other

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Other

Other

False statement on a voter registration application - citizenship.
Procurement of a voter registration by fraud - non citizen

registering to vote in violation of the Voting Rights Act 52 U.S.

10307 (c) & 20511 (2) (a) n/a
False statement on a voter registration application - citizenship.
Procurement ofa vaterregittration by fraud non citizen

registering ta vote in Vvidletion o€ the: Voting Rights Act $2 00S)

10307 (c) & 20514 (2) (a)

IHegal voting (non citizen). False statement on a voter
registration application - citizenship. Procurement of a voter
registration by fraud - non citizen registering to vote in violation
of the Voting Rights Act 52 U.S. 10307 (c) & 20511 (2) (a)

Hiedal voting (aon citizen) False statement an so voter
registration application: = cluzenshipe Procurement of a:voter
registration by fraud = non citizen registering to vote in Violation
of the Voting Rights Act 52 U.S. 10307 (c) & 20511 (2) (a)

INegal voting (non citizen). False statement on a voter
registration application - citizenship. Procurement of a voter
registration by fraud - non citizen registering to vote in violation
of the Voting Rights Act 52 U.S. 10307 (c) & 20511 (2) (a)
False statement on a voter recistretian epplication — citizenship,
Procurement of a voberredictration by fraud= non citizen
registering to vate in violation of the Vating Rights Act 52 0S.
10307 (c} & 20514 (2) (a)

False statement on a voter registration application - citizenship.
Procurement of a voter registration by fraud - non citizen
registering to vote in violation of the Voting Rights Act 52 U.S.
10307 (c) & 20511 (2) (a)

False statement on a voter registration application - citizenship.
Procurement ofa vaterregittration by fraud non citizen
registering ta vote in Vvidletion o€ the: Voting Rights Act $2 00S)
410307 (c) & 20514 (2) (a)

False statement on a voter registration application - citizenship.
Procurement of a voter registration by fraud - non citizen
registering to vote in violation of the Voting Rights Act 52 U.S.
10307 (c) & 20511 (2) (a)

legal voting (non citizen), Felse statement on a voter
registration application = citizenship. Procurement of a voter
registration by Trauc: = nan sitizen registering tosvote iA violation
of thecvoting Rights Act |S? GIST T0807) Se ROS1TT aya)
False statement on a voter registration application - citizenship.
Procurement of a voter registration by fraud - non citizen
registering to vote in violation of the Voting Rights Act 52 U.S.
10307 (c) & 20511 (2) (a) n/a
False statement an a voter reqistration spplication= citizenship,
Procurement of a voter registration by fraud - non citizen
registering to vate in violation of the Vating Rights Act 52 0S.
TOSO7 C3} BR 2OSET (2) (a)

False statement on a voter registration application - citizenship.
Procurement of a voter registration by fraud - non citizen
registering to vote in violation of the Voting Rights Act 52 U.S.
10307 (c) & 205114 (2) (a) n/a
False statement on a voter registration application - citizenship.
Procurement of a voter redistration by fraud. = non citizen
registering ta vote in Vvidletion o€ the: Voting Rights Act $2 00S)
LOR07 (cy & DOSTT (2) 4a)

False statement on a voter registration application - citizenship.
Procurement of a voter registration by fraud - non citizen
registering to vote in violation of the Voting Rights Act 52 U.S.
10307 (c) & 20511 (2) (a)

False statement on a voter reqistretion epplication — citizenship.
Procurement of a voter registration by fraud - non citizen
registering to vate in violation of the Vating Rights Act 52 0S.
TOSO7 C3} BR 2OSET (2) (a)

False statement on a voter registration application - citizenship.
Procurement of a voter registration by fraud - non citizen
registering to vote in violation of the Voting Rights Act 52 U.S.
10307 (c) & 205114 (2) (a) n/a
False statement on a voter registration application - citizenship.
Procurement of a voter redistration by fraud. = non citizen
registering ta vote in Vvidletion o€ the: Voting Rights Act $2 00S)
LOR07 (cy & DOSTT (2) 4a)

False statement on a voter registration application - citizenship.
Procurement of a voter registration by fraud - non citizen
registering to vote in violation of the Voting Rights Act 52 U.S.
10307 (c) & 20511 (2) (a) n/a
False statement on a voter reqistretion epplication — citizenship.
Procurement of a voter registration by fraud - non citizen

registering to vate in violation of the Vating Rights Act 52 0S.

2016 Primary B General Blactions

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Information as of 5/10/2022

STATE107730

Page 14
Case 5:21-cv-00844-XR Document 747-10 Filed 09/01/23 Page 15 of 16

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Election Fraud Complaints Referred for Investigation
Referrals - Other Sources

False statement on a voter registration application - citizenship.
Procurement of a voter registration by fraud - non citizen
registering to vote in violation of the Voting Rights Act 52 U.S.

Bexar 2016 Primary & General Elections Other 10307 (c) & 20511 (2) (a) n/a
False statement an a voter registration application = citizenship.
Procurement of a voter registration by fraud = hon citizen

registering to vate in violation of the Voting Rights Act 52.U5.

2016 Primary B General Elections 40307 (c) & 20514 (2) (ah
False statement on a voter registration application - citizenship.
Procurement of a voter registration by fraud - non citizen
registering to vote in violation of the Voting Rights Act 52 U.S.
Tarrant 2016 Primary & General Elections Other 10307 (c) & 20511 (2) (a) n/a
False statement of a Voter registration application = ciienshin:
Procurement of a voter redistration by fraud - nan citizen
registering ta vote in violation of the Voting Rights Act 52.U.S.
Tarrant 2016 Primary & General Electians 10307 (c) & 20514 (2) (a)
False statement on a voter registration application - citizenship.
Procurement of a voter registration by fraud - non citizen
registering to vote in violation of the Voting Rights Act 52 U.S.
Tarrant 2016 Primary & General Elections Other 10307 (c) & 20511 (2) (a) n/a

False statement an a voter registration application = citizenship.

Procurement of a voter registration by fraud = hon citizen

registering to vate in violation of the Voting Rights Act 52.U5.

2016 Primary B General Elections 40307 (c) & 20514 (2) (ah

IHegal voting (non citizen). False statement on a voter

registration application - citizenship. Procurement of a voter

registration by fraud - non citizen registering to vote in violation
2008 & 2012 General Elections of the Voting Rights Act 52 U.S. 10307 (c) & 20511 (2) (a)

Hiedal voting (aon citizen) False statement an so voter
registration application “fiuzenship Procurement ofa Voter
registration by fraud = non citizen registering to vote in Violation
2008, 2010, 2012 General Elections af the Voting Rights Act 52.U.S.. 10307 (¢) & 20514 (2) (a)
False statement on a voter registration application - citizenship.
Procurement of a voter registration by fraud - non citizen
registering to vote in violation of the Voting Rights Act 52 U.S.
2016 Primary & General Elections 10307 (c) & 20511 (2) (a)
False statement ‘one voter registration application = citenship:
Procurement ofa vaterregittration by fraud non citizen
registering to vote in violation of the Voting Rights Act 52 U.S:
2016 Primary & General Elections ANS0/ (ce) & 2O511 (2) (a)
False statement on a voter registration application - citizenship.
Procurement of a voter registration by fraud - non citizen
registering to vote in violation of the Voting Rights Act 52 U.S.
2016 Primary & General Elections 10307 (c) & 20511 (2) (a)
False statemention-s voter registration application = citizenship:
Procurement of a voberredictration by fraud= non citizen
registering to vote in violation af the Voting Rights Act 52 U.S.
2016 Primary & General Elections 10307 (c} & 20514 (2) (a)
False statement on a voter registration application - citizenship.
Procurement of a voter registration by fraud - non citizen
registering to vote in violation of the Voting Rights Act 52 U.S.
2016 Primary & General Elections 10307 (c) & 20511 (2) (a)

legal voting (non citizen). False statement one voter

registration application “fiuzenship Procurement ofa Voter

registratipn by fraud: = non-citizen registering tocvote ia viclation
2000 General Election of the Voting Rights Act 52 U.S. 10307 (c) & 20511 (2) (a)
False statement on a voter registration application - citizenship.
Procurement of a voter registration by fraud - non citizen
registering to vote in violation of the Voting Rights Act 52 U.S.
Tarrant 2016 Primary & General Elections Other 10307 {(c) & 20511 (2) (a) n/a
False statement on a voter registration application - citizenship.
Procurement ofa vaterregittration by fraud non citizen
registering ta vote in Vvidletion o€ the: Voting Rights Act $2 00S)
2016 Pritoary & General Elections 410307 (c) & 20514 (2) (a)
False statement on a voter registration application - citizenship.
Procurement of a voter registration by fraud - non citizen
registering to vote in violation of the Voting Rights Act 52 U.S.
Tarrant 2016 Primary & General Elections Other 10307 (c) & 20511 (2) (a) n/a

False statement on a voter reqistration spplication — citizenship.

Procurement of a voberredictration by fraud= non citizen

registering to vate in violation of the Vating Rights Act 52 0S.
Tarrant 2016 Primary & General Elections ‘Other 10307 (ce) B 20511 (2) (a)

[Tarrant _—_—«4|2017 Municipal Election | Other ~——s| Mail in ballot fraud

Coercion of voter, false statement on voter reqistration
Gonzalez 2017 Municipal Flechon Gther application

Nueces _—_— [2016 Robstown Utilities Board Runoff | _— Other ~—_— [Unlawful Assistance
2016 General Plection lon citizen legal voting

Hultiple Election Code Violations - Wegal Voting
Multiple Election Code Violations - Tlegal Voting
Starr 2018 Starr Co Primary Other Deceased Voters Cast Ballots after death n/a
Information as of 5/10/2022 Page 15

STATE107731
Case 5:21-cv-00844-XR Document 747-10 Filed 09/01/23 Page 16 of 16

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Election Fraud Complaints Referred for Investigation
Referrals - Other Sources

Non-citizen illegal voting
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[Galveston [20S Municipal RUN OF
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Other Unlawful Participation in Party Affairs

‘Other Voter Harvestind/etection Fraud

Other
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2020 Harris County Genera Other Unlawfully Obstructing Watcher
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Medina [2027 City of Hands Munieple Hscien Gther eon tad
[Potter _—*(2022 Potter County Primary Election | ———Other__—*[lllegal' Voting na
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This document is not a summary of all election complaints in this state. This document does not record or report offenses reported to local law

Information as of 5/10/2022 Page 16

STATE107732
